51 F.3d 265
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas J. CONBOY, Plaintiff-Appellant,v.T. Rowe PRICE, Defendant-Appellee.
    No. 95-1010.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1995.Decided April 6, 1995.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA94-1193-S)
      Thomas J. Conboy, appellant pro se.  Emmett Francis McGee, Jr., Piper &amp; Marbury, Baltimore, MD, for appellee.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion to recuse.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We grant the Appellee's motion to dismiss the appeal as interlocutory.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The Appellee's request for sanctions pursuant to Fed.  R.App. P. 38 and motion to strike the Appellant's informal brief are, however, denied
      
    
    